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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



 FEDERAL TRADE COMMISSION,

                  Plaintiff,
                                                          Case No.: 19-cv-1080 (JDB)
             v.

 SURESCRIPTS, LLC,

                  Defendant.



                               Plaintiff Federal Trade Commission’s
                               Motion for Partial Summary Judgment

       Pursuant to Federal Rule of Civil Procedure 56, Plaintiff Federal Trade Commission

(“FTC”) respectfully moves the Court to grant summary judgment to the FTC on the issues of (1)

market definition; and (2) monopoly power. The accompanying memorandum, statement of

undisputed facts, and declaration with related exhibits set forth the grounds for this motion. A

proposed order is attached.

       The FTC requests an oral hearing on this Motion.


Dated: March 28, 2022                         Respectfully submitted,

                                              /s/ Tanya O’Neil
                                              Tanya O’Neil (D.C. Bar 1021933)
                                              Federal Trade Commission
                                              Bureau of Competition
                                              400 7th Street, SW
                                              Washington, DC 20024
                                              Telephone: (202) 326-2053
                                              Email: toneil@ftc.gov

                                              Counsel for Plaintiff
                                              Federal Trade Commission
